                    3:16-cv-03090-SEM-TSH # 1-2                              Page 1 of 11
                                                                                                                                  E-FILED
                                                                                                          Friday, 01 April, 2016 03:01:31 PM
                                                                                                               Clerk, U.S. District Court, ILCD
*rmJn
m  ^
      NATIONAL
      CORPORATE                                                                     Notice of                                   Page 1 of 1


¦ m.               J! H RESEARCH, ltd.                                              Service of Process
The Right Response ot the Right Time, Every Time.

Dover, DE • Los Angeles • Sacramento • Springfield, IL • Albany • New York

850 New Burton Road, Suite 201, Dover, Delaware 19904
           (302) 734-1450 Toll Free (866) 621-3524
    Fax (800) 253-5177 Email: sop@nationalcorp.com



    DATE:           December 1,2015                                                                SENT VIA:

    TO:             Allen Lev                                                                       [vlEmail
                    Kin Properties, Inc.
                                                                                                    Q Federal Express
                    185 NW Spanish River Blvd
                    Suite 100                                                                       ? Fascimile Transmission
                    Boca Raton, FL 33431                                                            SOther: Regular Mail


    RE:             SERVICE OF PROCESS:

                   JASAN LLC




The enclosed Service of Process was received by the statutory agent in:                        Illinois

                                                                             on the date of:   December 1, 2015

                                                                              received via:    Personal Service

         TITLE OF ACTION:                               Becky Newkirk vs. JASAN LLC, et ai.




         COURT AND CASE NO:                             In the Circuit Court of Adams County, Illinois



                                                        Case No.        15L51

                                                        Summons and Complaint



         RESPONSE REQUIRED BY:                          see documents

         NOTE:




    Sincerely,


                        A-
    Andrew Lundgren, Manager - Registered Agent Services

       Please carefully review the document referenced above to confirm all information, including the Response Date, for accuracy. The
        information noted above is provided based on our review and is not a legal opinion.
        PLEASE CONSULT THE SERVICES OF A COMPETENT PROFESSIONAL ATTORNEY.


                                                                             EXHIBIT
                    3:16-cv-03090-SEM-TSH # 1-2                              Page 2 of 11


        r                          NATIONAL                                                                                    S!;     Un

imj           yggf--               CORPORATE                                        Notice of                                  Page 1 of 1

¦ W                Ji m RESEARCH, ltd.                                              Service of Process
The Right Response at the Right Time, Every Time.

Dover, DE • Los Angeles • Sacramento • Springfield, IL • Albany • New York

850 New Burton Road, Suite 201, Dover, Delaware 19904
            (302) 734-1450 Toil Free (866) 621-3524
      Fax (800) 253-5177 Email: sop@nationalcorp.com



      DATE:            December 1, 2015                                                            SENT VIA:

      TO:           Allen Lev                                                                       E Email
                       Kin Properties, Inc.
                                                                                                    ? Federal Express
                       185 NW Spanish River Blvd
                       Suite 100                                                                    D Fascimile Transmission
                       Boca Raton, FL 33431                                                         SOther: Regular Mail


      RE:           SERVICE OF PROCESS:

                   ROSEFF LLC



The enclosed Service of Process was received by the statutory agent in:                        Illinois

                                                                             on the date of:   December 1, 2015

                                                                              received via:    Personal Service

         TITLE OF ACTION:                               Becky Newkirk vs. Jasan, LLC, et al.          Including: ROSEFF LLC




         COURT AND CASE NO:                             In the Circuit Court of Adams County, Illinois


                                                        Case No.        15 L 51

                                                        Summons and Complaint




         RESPONSE REQUIRED BY:                         see documents

         NOTE:




      Sincerely,


                          A- L^
      Andrew Lundgren, Manager - Registered Agent Services

        Please carefully review the document referenced above to confirm ail information, including the Response Date, for accuracy, The
        information noted above is provided based on our review and is not a legal opinion.
        PLEASE CONSULT THE SERVICES OF A COMPETENT PROFESSIONAL ATTORNEY.
    3:16-cv-03090-SEM-TSH # 1-2               Page 3 of 11




                  m THE CIRCUIT COURT OF THE EIGHTH JUDICIAL
                      CIRCUIT OF ILLINOIS, ADAMS COUNTY
                                                                                        NOV 1 92015
BECKY NEWKIRK,
                                                                                         (J?. &XluMrufau/l
                              Plaintiff,                                              Qrt CKtf Csttt CO ibdcd Qttf
                                                                                                  ADAMS 00.


                      vs.                                       No. 15-L- 5 /

JASAN, LLC, a Delaware Limited Liability
Company; ROSEFF, LLC, a Delaware Limited
Liability Company; and CVS Pharmacy, Inc.,
a Rhode Island Coiporation,


                              Defendants.                       Jury Trial Demanded



                                           JURY DEMAND

                                                                                        ILCS
        NOW COMES Plaintiff, by and through her counsel of record, and pursuant to"s735

5/2-1 105(a) hereby demand a trial by jury.

                                              Respectfully submitted,


                                              BECKY NEWKIRK, Plaintiff
                                              BY GOEHL, SCHUERING, CASSENS & BIER
                                              their attorneys




                                                     One of her attorneys




Donald R. Schuering
GOEHL, SCHUERING, CASSENS & BIER
506 Vermont St.
Quincy, IL 62301
Telephone: (217) 224-2555
Fax: (2 17) 224-2569
E-Mail Address: drs@gsclawnet.com
        Attorney for Plaintiff




{00037650.DOCX}
    3:16-cv-03090-SEM-TSH # 1-2                            Page 4 of 11




STATE OF ILLINOIS                                      )
                                                       )SS
COUNTY OF ADAMS                                        )                                    NOV 1 92015

                    IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL
                            ciRcurr of Illinois, adams county                        ¦ yk ^ JMmrvhuz
                                           '                                               CtrtCMtotttJyWCM
                                                                                           IU.INOI#, ADAM8 00.
BECKY NEWKIRK,

                                    Plaintiff,


                          vs.                                        No .15-L-5/


JASAN, LLC, a Delaware Limited Liability
Company; ROSEFF, LLC, a Delaware Limited
Liability Company; and CVS Pharmacy, Inc.,
a Rhode Island Corporation,

                                    Defendants.                      Jury Trial Demanded



                                                     AFFIDAVIT


       This affidavit is made pursuant to Supreme Court Rule 222(b).            Under the penalties of

                                                                 re, the undersigned hereby
perjury as provided by Section 1-109 of the Code of Civil Procedu

                                                                         fifty thousand dollars
certifies that the money damages sought by Plaintiffs herein does exceed


($50,000,00).

        Dated this /P^dav of TjfarfmJlw 201 5


                                                               Donald R. Schuermg




        Subscribed and sworn to before me this /cP# . day of                               ^ ,2015.


                    OFFICIAL SEAL
                  CHRISTINE F. INMAW             ;

          NOTARY PUSUC • STATE OF .LUMO*
                         pypiRESOC  T. 1/1.5^'
                                                 ,                                   Jrrv/Nfr.s\ /
         MY  COMMISSIOki
          ** Mntiuiecm N EXPIRES OC1
                                                                     NotaiV Public
{00037650.00CX}
    3:16-cv-03090-SEM-TSH # 1-2      Page 5 of 11




                                    Respectfully submitted,

                                    BECKY NEWKIRK, Plaintiff
                                    BY GOEHL, SCHUERING, CASSENS &BIER
                                    her attorneys




                                           One of their attorneys



Donald R. Schuering
GOEHL, SCHUERING, CASSENS & BIER
506 Vermont St.
Quincy, IL 62301
Telephone: (217) 224-2555
Fax: (217) 224-2569
E-Mail Address: drs@gsclawnet.com
       Attorney for Plaintiff




{00037B50.DOCX}
                 3:16-cv-03090-SEM-TSH # 1-2                    Page 6 of 11
Summgnt-ao Day C-t?




                            IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT

                                                 ADAMS COUNTY, ILLINOIS




    BECKY NEWKIRK



                                          Pfaintiff,

                                                                           no.__1$:L-_5Z.


    JASAN, LLC, a Delaware Limited Liability
    Company; ROSEFF, LLC, a Delaware Limited
   Liability Company; and CVS Pharmacy, Inc.,
   A Rhode Island Corporation,

                                          Defendants.




                                                                 /
                                                           SUMMONS
         To each defendant-        ^ASAN, LLC, National Corp, Research, L, 600 So. Second St.,Ste. 404, Springfield, IL
           YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto
         attached, or otherwise file your appearance, in the office of the clerk of this court at the Adams County Courthouse
         in Quincy, Illinois, within 30 days after service of this summons, not counting the day of service. IF YOU FAIL
         TO DO SO, A JUDGMENT OR DECREE BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
         ASKED IN THE COMPLAINT.


         To the officer
             This summons must be returned by the officer or other person to whom it was given for service, with indorse
         ment of service and fees, if any, immediately after service. If service cannot be made, this summons shall be
         returned so indorsed. This summons may not be served later than 30 days after its date.

                                                                                     November                        20     15
                                                                 Witness


                                                                  .           (E,                               Clerk of Court.


                       Goehl, Schuering, Cassens & Bier By                                                             Deputy
          Name
                       Plaintiff
          Attorney for
                       506 Vermont                                                    (Seal of Court)
          Address

          City         Quincy, IL 62301

          Telephone    (217)224-2555
                                                                 Date of service                                    ,20
                                                                 (To be inserted by officer on copy left with
                                                                 defendant or other person.)



          REVISED 2.11-00
                3:16-cv-03090-SEM-TSH # 1-2                                       Page 7 of 11

                                                                               SHERIFF'S FEES

                               Service and return

                              Miles


                                            Total




                                                                                 Sheriff of                                                             County


                                                                         SHERIFF'S RETURN
(AMIndividual defendants-persona)):

      1. I certify that I served the within Writ on the named Defendant

           Sex             Race                   Age            by leaving a copy thereof with the said defendant personally

           (address)

           on                                                             at                   A.M                        P.M.
                                            (due)                                (line)                        (turn)


      2. I certify that I served the within Writ on the named Defendant

           Sex             Race                   Age            by leaving a copy thereof with the said defendant personally

           (address)

           on                                                             at                   A.M                        P.M.
                                            (dttt)                               (time)                       (time)

                                                                                            , Sheriff, by                                                                 DEPUTY.

(BHlndividual defendants-abode):


      1 certify that I served the within Writ by leaving a copy and a copy of the Complaint at the usual place of abode of each
      individual defendant with a person of h . . . family of the age of 13 years or upwards, informing that person of the
      contents of the Summons, and also by sending a copy of the Summons and of the Complaint in a sealed envelope with
      postage fully prepaid, addressed to each individual defendant at h . . . usual place of abode, as follows:

      1.                         (mme of defcndiaij                                                 (nunc of pMion Ktvcd)                                <KX)    (race)        (•10
                                                                                          On
                                                                                                                                                        A.M.               . . P.M.
                         (•ddicu terved si-ftutt. If powible)                                                (dele)                         (time)                (lime)



            Date of Mailing


      2.                                                                                            {nime ofpeoon r tveti)*                                      (rate)        (tg<)
                               ' (nunc of'defejwlanl)'                                                                                                   (*«)


                                                                                          On                                                            A.M                  P.M.
                       (b&rai Urtii liquet, it pouibk)                                                      (4*16)                         (time)                (lime



           Date of Mailing

                                                                                           , Sheriff, by                                                                  DEPUTY.

(CHCoi-porarion defendants):



  .        I have duly served the within Writ upon the within named:

                                                                                                                                by reading and by delivering a due copy


            thereof to
                                                                                                                                               OTO-E)



           Sex           Race .... Age                     at
                                                                                                             (tddreu temd it-exict, if potiible)


                                                                           A.M                           P-M.
                            (due)                               (time)                     (time)




                                                                                           , Sheriff, by                                                                  DEPUTY.
     3:16-cv-03090-SEM-TSH # 1-2                  Page 8 of 11




                    IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL
                         CIRCUIT OF ILLINOIS, ADAMS COUNTY


BECKY NEWKIRK,
                                                                   v-   •
                                 Plaintiff,                                                   NCW 1 9Z015

                         vs.                                    No. 15-L- 5 1
                                                                                              01, JMuwrtfoufl
                                                                                           QeaCHXCMtoJobfCm
JASAN, LLC, a Delaware Limited Liability                                                   tU-IWia. ADAMS CO.

Company; ROSEFF, LLC, a Delaware Limited
Liability Company; and CVS Pharmacy, Inc.,
a Rhode Island Coiporation,

                                 Defendants.                    Jury Trial Demanded


                                              COMPLAINT


            NOW   COMES        the Plaintiff, BECKY NEWIORK,            by her   attorneys,    GOEHL,


SCHUERING, CASSENS, & BIER, in the person of Donald R. Schuering, and for her Complaint

                                                                            as
against Defendants, JASAN, LLC; ROSEFF, LLC; AND CVS PHARMACY, INC., states

follows:

                                   JURISDICTION AND VENUE


            1.    At all times relevant to this action, Plaintiff, Becky Newkirk, was and is a resident

of Quincy, Adams County, Illinois.


            2.    Defendant, Jasan, LLC, is a Delaware limited liability company, and owns a 50%

interest in the real estate located at 436 N. 30th Stteet/SOOl Broadway, Quincy, Adams County,

Illinois.


            3.    Defendant, Roseff, LLC, is a Delaware limited liability company, and owns a 50%

interest in the real estate located at 436 N. SO111 Street/3001 Broadway, Quincy, Adams County,

Illinois.




{00037650.DOCX}
         3:16-cv-03090-SEM-TSH # 1-2                 Page 9 of 11




                                                                                             d to do
          ' 4.        Defendant, CVS Pharmacy, Inc., is a Rhode Island corporation authorize

                                                                                                01
    business in the State of Illinois, and owns a retail establishment at 436 N. 30lh Street/30

    Broadway, Quincy, Adams County, Illinois.

                                                                                               because
            5.        Venue is proper in Adams County, Illinois, pursuant to 735 ILCS 5/2-101,

                                                                     Adams County, Illinois;
    the Defendants, Jasaa, LLC and Roseff, LLC, own real property in

                                                                                         a business in
    Defendant, CVS Pharmacy, Inc., is authorized to do business in Illinois and operates

                                                                        to this cause of action
    Adams County, Illinois; and the incident and occurrence giving rise

                                                                           by Defendants, Jasan,
    occurred in Adams County, Illinois and occurred on real property owned

                                                                               it business.
    LLC and Roseff, LLC, and upon which Defendant, CVS Pharmacy, Inc. operates

                          CAUSE OF ACTION AGAINST ALL DEFENDANTS
                                (NEGLIGENCE/PREMISES LIABILITY)

                                                                                           Becky
            6.        On or about February 6, 2015, at approximately 2:00 p.m., Plaintiff,

    Newkirk, was walking from the parking lot at 436 North 30th Street/3001 Broadway, Quincy,
                                                                                      y at that location.
.   Illinois (the "Premises") to the sidewalk preparing to enter into the CVS Pharmac

            7.        When Plaintiff reached the sidewalk/curb, she stepped up onto the curb and onto an

    uneven, broken, crushed, and damaged segment of the curbing and walkway, causing Plaintiffs

    foot to become lodged and caught, and causing Plaintiff to fall.

            8.        In the course of ownership, operation, maintenance, possession and control of the

                                                                                                 said
    Premises, the Defendants invited customers and the public, including the Plaintiff, to enter

    Premises for the purpose of parking their vehicles, and shopping at the CVS store.

            9.        The Plaintiff was lawfully upon the Premises, pursuant to said invitation, as a

    customer intending to shop at the CVS store.

            10.       Defendants owed a duty to exercise ordinary care to avoid causing injury to

    Plaintiff

    {0Q037650.DOCX}
    3:16-cv-03090-SEM-TSH # 1-2                 Page 10 of 11




         11.      At ail times relevant herein, the Plaintiff was in the exercise of ordinary care and


 caution for her own safety.

         1 2.     At the time and place referred to above, Defendants breached its duty to Plaintiffby


committing one or more of the following acts or omissions of negligence:

                  a.     Defendants failed to maintain the premises in a reasonably safe manner so
         as to avoid the injury to the Plaintiff.

                  b.     The   damaged    portion of the curbing and       walkway    constituted   an
        unreasonably safe condition and although Defendants knew, or should have known, of the
        condition, Defendants failed to take the appropriate steps to make die condition safe.

                  c.     Defendants failed to warn Plaintiff of the condition;


                  d.     Defendants failed to maintain a reasonably safe means of passage for its
        customers.                                                               .


         13.      As a direct and proximate result of one or more of the foregoing acts of negligence

of Defendants, Plaintiff (a) was caused to suffer severe, permanent and disfiguring injuries,

internally and externally, which have caused and will continue to cause herpain in body and mind;

and (b) was caused to expend, and will be compelled to expend in the future, large sums of money

for medical care for the treatment of said ipjuries.


        WHEREFORE, Plaintiff, BECKY NEWKIRK, prays for judgment against Defendants, ,

JASAN, LLC; ROSEFF, LLC; AND CVS PHARMACY, INC, in a sum that is fair and

reasonable and in excess of fifty thousand dollars ($50,000.00), for prejudgment interest, for the

costs herein incurred and for such other and further relief as the court deems just and proper under

the circumstances.




{0003765Q.DOCX}
    3:16-cv-03090-SEM-TSH # 1-2                  Page 11 of 11




                                                Respectfully Submitted,


                                                BECKY NEWKIRK, Plaintiff

                                                BY GOEHL, SCHUERING, CASSENS & BIER
                                                their attorneys '




                                                        One of their attorneys




                                          VERIFICATION

                                                                                                    that
        The undersigned, under penalties as provided pursuant to 735 ELCS 5/1-109, certifies
                                                                                       of  the incident
she is the Plaintiff herein, and as such is familiar with the facts and circumstances
                                                                                       this Complaint
alleged herein, and further certifies that the statements and allegations set forth in
                                                                                               to be
and those allegations deemed alleged are true and correct, except as to matters therein stated
                                                                                          that she
on information and belief, and as to such matters, the undersigned certifies as aforesaid
verily believes the same to be true.



        Date: November / 6 ,2015
                                                                ecky Newkirk



         Subscribed and sworn to before me this                day of November, 2015,




                                                                       %
                                                                   Notary Public


                                                                        OFFICIAL SEAL
                                                                      CHRISTINE F. INMAN
Donald R. Schuering                                             NOTARY PUBUC • STATE OF IlLINOJS
GOEHL, SCHUERING, CASSENS & BIER                         ; ;   MY COMMISSION EXPIRES OCT. 10. 201fl

506 Vermont St.
Quincy, IL 62301
Telephone: (217) 224-2555
Fax: (217) 224-2569
E-Mail Address: drs@gsclawnet.com
       Attorney for Plaintiff




{0003 7650. DOCX)
